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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA


                                Alexandria Division




  HALOZYME, INC.,

        Plaintiff,



  V.                                        Civil Action No. l:16-cv-1580



  ANDREI lANCU,


        Defendant.




                                 MEMORANDUM OPINION


        THIS      MATTER   comes   before     the   Court   on   Defendant      Andrei


  lancu's. Under Secretary of the United States Patent and Trademark

  Office ("USPTO"), motion for expenses under 35 U.S.C. § 145 and

  partial motion to stay consideration of personnel expenses.

        Halozyme brought this action pursuant to 35 U.S.C. § 145,

  challenging a final decision issued by the USPTC s Patent Trial

  and Appeal Board (the ^'Board") which affirmed the rejections of

  claims     in     U.S.     Patent    Application     11/238,171       ("the     ^171

  application").       The    claims   were    rejected     on   four   independent

  grounds:


           • unpatentable under obviousness-type double pantenting
               ("GDP") over claims 9 and 10 of U.S. Patent No. 7,767,429
               ("the M29 patent") in view of the U.S. Patent No.
               5,766,897 ("Braxton") and U.S. Patent No. 6,552,170
               ("Thompson");
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